     Case 4:20-cv-00965           Document 1       Filed on 03/16/20 in TXSD       Page 1 of 9




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

IN THE MATTER OF THE COMPLAINT                       §
OF THE TUG JB BLOOMER, LLC,                          §
SAN JACINTO RIVER FLEET, LLC AND                     §
CHERYL K, LLC AS OWNER AND                           §
OWNERS PRO HAC VICE                                  §
OF THE TUG JB BLOOMER AND                            §           C.A. NO. 4:20-cv-965
THE TUG CHERYL K, LLC,                               §
SAN JACINTO RIVER FLEET, LLC AND                     §
CHERYL K, LLC AS OWNER AND                           §
OWNERS PRO HAC VICE                                  §
OF THE TUG CHERYL K                                  §
FOR EXONERATION FROM OR                              §
LIMITATION OF LIABILITY                              §           (ADMIRALTY)

                     VERIFIED COMPLAINT FOR EXONERATION FROM
                             OR LIMITATION OF LIABILITY

        COME NOW The Tug JB Bloomer, LLC, Cheryl K, LLC and San Jacinto River Fleet,

LLC, as owner, operators/managers and/or owners pro hac vice of the JB Bloomer (hereinafter

sometimes collectively referred to as “the JB Bloomer Petitioners”); and, The Tug Cheryl K,

LLC, Cheryl K, LLC and San Jacinto River Fleet, LLC, as owner, operators/managers and/or

owners pro hac vice of the Cheryl K (hereinafter sometimes collectively referred to as “the

Cheryl K Petitioners”) seeking exoneration from or limitation of liability pursuant to the

Shipowner’s Limitation of Liability Act, 46 U.S.C. §§ 30501, et seq. (“the Act”) and

Supplemental Rule F of the Supplemental Rules for Admiralty or Maritime Claims & Asset

Forfeiture Actions (“Supplemental Admiralty Rules”) and respectfully show the following:

                                             I.   Jurisdiction

        1.         This case is within the admiralty and maritime jurisdiction of this Court pursuant

to Rule 9(h) of the Federal Rules of Civil Procedure and Rule F of the Supplemental Rules for

Certain Admiralty and Maritime Claims.



23,512♦0PMLF3106
     Case 4:20-cv-00965           Document 1       Filed on 03/16/20 in TXSD        Page 2 of 9




                                                II. Venue

        2.         Venue is proper in this Court under Supplemental Admiralty Rule F(9) because:

                   a.     A lawsuit has been filed against San Jacinto River Fleet, LLC in Harris
                          County, Texas, for claims from which Petitioners seek exoneration from
                          or limitation of liability. That suit is pending as Cause No. 2020-10015 in
                          the 270th Judicial District Court of Harris County, Texas, and is styled
                          Phillip Abbott, et al. vs. San Jacinto River Fleet, LLC.

                   b.     A lawsuit has also been filed against Cheryl K, LLC and San Jancinto
                          River Fleet, LLC in the United States District Court for the Southern
                          District of Texas – Houston Division for claims from which Petitioners
                          seek exoneration from or limitation of liability. That suit is pending as
                          Cause No. 4:20-cv-00868 and is styled as The Texas Department of
                          Transportation v. Canal Barge Co., Inc., Ingram Barge Co., Cheryl K,
                          LLC, San Jacinto River Fleet, LLC.

                                              III. Petitioners

        3.         At the time of the events which underlie this claim for exoneration from or

limitation of liability, as well as two above referenced lawsuits:

                   a.     The Tug Cheryl K, LLC was a business entity organized and existing
                          under the laws of Texas with its registered office located in Harris County,
                          Texas. As the registered owner of the Cheryl K, The Tug Cheryl K, LLC
                          is entitled to bring this action under the Act.

                   b.     The Tug JB Bloomer, LLC was a business entity organized and existing
                          under the laws of Texas with its registered office located in Harris County,
                          Texas. As the registered owner of the JB Bloomer, The Tug JB Bloomer,
                          LLC is entitled to bring this action under the Act.

                   c.     Cheryl K, LLC was a business entity organized and existing under the
                          laws of Texas with its registered office located in Harris County, Texas.
                          As the operator/manager and employer of the crews of the Cheryl K and
                          JB Bloomer, Cheryl K, LLC is an owner pro hac vice and entitled to bring
                          this action under the Act.

                   d.     San Jacinto River Fleet, LLC was a business entity organized and existing
                          under the laws of Texas with its registered office located in Harris County,
                          Texas. As the operator/manager of the Cheryl K and JB Bloomer, San
                          Jacinto River Fleet, LLC is an owner pro hac vice and entitled to bring
                          this action under the Act.




23,512♦0PMLF3106                                   2
     Case 4:20-cv-00965           Document 1       Filed on 03/16/20 in TXSD       Page 3 of 9




               IV. The JB Bloomer and the JB Bloomer Petitioners’ Limitation Fund

          4.       The JB Bloomer is a twin screw retractable pilothouse pushboat built in 1970

(redesigned/reconditioned in 2018) and bearing Official Number 8987448.

          5.       To the best of the JB Bloomer Petitioners’ knowledge, information and belief, no

warrant of arrest or any other process of any court has been issued for the JB Bloomer and the

vessel has not been and is not presently under seizure as a result of any claims or demands.

          6.       As shown in the Declarations of Value and Pending Freight, attached hereto as

Exhibits A and B respectively and incorporated herein by reference for all purposes, at the time

of the breakaway of a tier of nine (9) barges from the San Jacinto River Fleet north of the I-10

Bridge over the San Jacinto River during Tropical Storm Imelda on September 19, 2019:

                   a.     the JB Bloomer and all its appurtenances, excluding pending freight, was
                          valued at approximately USD $1,420,000.00 (ONE MILLION FOUR
                          HUNDRED TWENTY THOUSAND AND 00/100 U.S. DOLLARS);
                          and,

                   b.     the value of the pending freight for the JB Bloomer was approximately
                          USD $1,975.00 (ONE THOUSAND NINE HUNDRED SEVENTY FIVE
                          AND 00/100 U.S. DOLLARS).

          7.       Contemporaneous with this filing, the JB Bloomer Petitioners file their Ad Interim

Stipulation for an amount equal to the value of their interest in the JB Bloomer and its “pending

freight” plus interest thereon at the rate set forth in Rule F. The Ad Interim Stipulation is to stand

in the place of a stipulation for value if the amount thereof is not contested by any claimant

herein.

                    V. The Cheryl K and the Cheryl K Petitioners’ Limitation Fund

          8.       The Cheryl K is a twin screw retractable pilothouse pushboat built in 1985 and

bearing Official Number 686919.

          9.       To the best of the Cheryl K Petitioners’ knowledge, information and belief, no



23,512♦0PMLF3106                                   3
     Case 4:20-cv-00965           Document 1      Filed on 03/16/20 in TXSD        Page 4 of 9




warrant of arrest or any other process of any court has been issued for the Cheryl K and the

vessel has not been and is not presently under seizure as a result of any claims or demands.

          10.      As shown in the Declarations of Value and Pending Freight, attached hereto as

Exhibit C and D respectfully and incorporated herein by reference for all purposes, at the time of

the breakaway of a tier of nine (9) barges from the San Jacinto River Fleet north of the I-10

Bridge over the San Jacinto River during Tropical Storm Imelda on September 19, 2019:

                   a.     the Cheryl K and all its appurtenances, excluding pending freight, was
                          valued at approximately USD $670,000.00 (SIX HUNDRED SEVENTY
                          THOUSAND AND 00/100 U.S. DOLLARS); and,

                   b.     the value of the pending freight for the Cheryl K was approximately USD
                          $3,850.00 (THREE THOUSAND EIGHT HUNDRED FIFTY AND
                          00/100 U.S. DOLLARS).

          11.      Contemporaneous with this filing, the Cheryl K Petitioners file their Ad Interim

Stipulation for an amount equal to the value of their interest in the Cheryl K and its “pending

freight” plus interest thereon at the rate set forth in Rule F. The Ad Interim Stipulation is to stand

in the place of a stipulation for value if the amount thereof is not contested by any claimant

herein.

                                             VI. The Incident

          12.      On September 19, 2019, the JB Bloomer and Cheryl K were involved in providing

towage and fleeting services to Canal Barge Company, Inc. and Ingram Barge Company, LLC

on the navigable waters of the San Jacinto River in the San Jacinto River Fleet fleeting area in

Harris County, Texas. On the evening of September 19, 2019, the JB Bloomer and Cheryl K

were involved in attempting to contain and control the aforementioned barge breakaway, which

was the result of an unprecedented increase in water depth and current speed over a short period

of time due to the heavy rain and widespread flooding occasioned by Tropical Storm Imelda.




23,512♦0PMLF3106                                   4
     Case 4:20-cv-00965           Document 1      Filed on 03/16/20 in TXSD         Page 5 of 9




Two of the barges eventually struck the I-10 Bridge over the San Jacinto River causing damage

to the bridge and barges. Allegations of additional damages have also been made regarding

damage to other barges involved in the breakaway, as well as to certain downriver facilities.

These claims for exoneration from or limitation of liability relate to all such claims, as well as

any others arising out of the voyages of the JB Bloomer and Cheryl K then underway.

                                       VII.   Claim for Limitation

        13.        The JB Bloomer and Cheryl K Petitioners now seek exoneration from or,

alternatively, limitation of their liability as provided by the Act and any acts, regulations, or rules

that supplement the Act, including Supplemental Admiralty Rule F for any and all claims arising

out of the aforementioned barge breakaway on September 19, 2019, or otherwise arising out of

the voyages of the JB Bloomer and the Cheryl K on September 19-20, 2019.

        14.        Pursuant to Rule F(1) of the Supplemental Rules for Admiralty and Maritime

Claims, an action for limitation must be filed within six (6) months of Petitioners’ first written

notice of any claim. In this case, this action is being filed within six months of the alleged

incident and, accordingly, is timely filed.

        15.        The incident described above and any damages claimed as a result thereof were in

no way caused or contributed to by any fault, neglect or want of due care on the part of

Petitioners.

        16.        At the time of the incident which forms the basis of this suit, the JB Bloomer

Petitioners used due diligence to make and maintain the JB Bloomer in all respects seaworthy,

and the JB Bloomer was, in fact, at all times material hereto, tight, staunch, strong, and fully and

properly equipped and supplied, and in all other respects seaworthy and fit for the service in

which it was engaged.




23,512♦0PMLF3106                                   5
     Case 4:20-cv-00965            Document 1       Filed on 03/16/20 in TXSD         Page 6 of 9




        17.        At the time of the incident which forms the basis of this suit, the Cheryl K

Petitioners used due diligence to make and maintain the Cheryl K in all respects seaworthy, and

the Cheryl K was, in fact, at all times material hereto, tight, staunch, strong, and fully and

properly equipped and supplied, and in all other respects seaworthy and fit for the service in

which it was engaged.

        18.        The incident described above and any damages claimed as a result thereof occurred

without the fault, privity or knowledge of Petitioners.

        19.        Petitioners desire to contest their respective liabilities and the liability of the JB

Bloomer and Cheryl K for any claims made and/or that may be made against them as they have

valid defenses in fact and in law thereto. Petitioners further claim the benefits of the Limitation

of Liability Act, 46 U.S.C. §§ 30501, et seq. and Rule F of the Supplemental Rules for Admiralty

and Maritime Claims of the Federal Rules of Civil Procedure, any and all Acts of the Congress

of the United States amendatory thereof or supplementary thereto, and the rules of practice of

this Court and the Supreme Court of the United States.

        20.        All and singular, the above premises of this Complaint are true and correct and

within the jurisdiction of the United States and of this Honorable Court as an admiralty and

maritime claim within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure.

        WHEREFORE, PREMISES CONSIDERED, The Tug JB Bloomer, LLC, Cheryl K, LLC

and San Jacinto River Fleet, LLC, as owner, operators/managers and/or owners pro hac vice of

the JB Bloomer; and, The Tug Cheryl K, LLC, Cheryl K, LLC and San Jacinto River Fleet, LLC,

as owner, operators/managers and/or owners pro hac vice of the Cheryl K, pray that:

        1.         upon the filing of the Ad Interim Stipulation in the amount of $1,421,975.00
                   (ONE MILLION FOUR HUNDRED TWENTY ONE THOUSAND NINE
                   HUNDRED SEVENTY FIVE AND NO/100s DOLLARS) on behalf of the JB
                   Bloomer Petitioners and the Ad Interim Stipulation in the amount of $673,850.00



23,512♦0PMLF3106                                     6
     Case 4:20-cv-00965            Document 1       Filed on 03/16/20 in TXSD         Page 7 of 9




                   (SIX HUNDRED SEVENTY THREE THOUSAND EIGHT HUNDRED FIFTY
                   AND NO/100s DOLLARS) on behalf of the Cheryl K Petitioners, the Court, in
                   accordance with the Federal Rules, shall cause a Monition to be issued to all
                   persons asserting claims in the respect to which The Tug JB Bloomer, LLC, The
                   Tug Cheryl K, LLC, Cheryl K, LLC and San Jacinto River Fleet, LLC
                   (“Petitioners”) seek limitation, citing them to file their respective claims with the
                   Clerk of this Court and serve them on or before the date to be named in said
                   Monition or be forever barred and permanently enjoined from making and filing
                   any such claims;

        2.         the Court, upon filing of the Ad Interim Stipulations, issue an injunction
                   restraining the filing, commencement, and further prosecution in any court
                   whatsoever and all suits, actions, and legal proceedings of any nature or kind
                   whatsoever against the Petitioners, the JB Bloomer, the Cheryl K and/or their
                   underwriters, and/or their insurers, whether in personam or in rem;

        3.         if any claimant, who shall file its claim under oath, files an exception
                   controverting the value of the JB Bloomer and/or the Cheryl K in their then
                   respective conditions as alleged herein, or to the amount of the Ad Interim
                   Stipulations, the Court shall cause due appraisal to be made of the value of the JB
                   Bloomer and/or the Cheryl K and their freight earned, if any, during the time
                   referred to in the Complaint, and the value of Petitioners’ interest therein; and, in
                   the event said appraised values exceed the limitation fund or security filed with
                   the Court, that this Honorable Court enter an Order for the giving of security in
                   the same amount pursuant to the Supplemental Rules of the Federal Rules of Civil
                   Procedure;

        4.         the Court adjudge that Petitioners are not liable to any extent whatsoever for any
                   losses, damages, or injuries, and for any claims arising in consequence of the
                   matters, happenings and events stated in this Complaint, and exonerate Petitioners
                   from liability therefor;

        5.         in the alternative:
                   a)      if this Court should adjudge that the JB Bloomer Petitioners are liable in
                           any amount whatsoever, the Court adjudge said liability as limited to the
                           value or amounts of interests of the JB Bloomer Petitioners in the JB
                           Bloomer and its pending freight, if any; that the monies paid or ordered to
                           be paid may be divided pro rata among such claimants as may prove their
                           claims, saving to all parties the priority to which they may be entitled; and,
                           that a decree be entered discharging the JB Bloomer Petitioners from all
                           other liabilities; and

                   b)     if this Court should adjudge that the Cheryl K Petitioners are liable in any
                          amount whatsoever, the Court adjudge said liability as limited to the value
                          or amounts of interests of the Cheryl K Petitioners in the Cheryl K and its
                          pending freight, if any; that the monies paid or ordered to be paid may be



23,512♦0PMLF3106                                     7
     Case 4:20-cv-00965            Document 1       Filed on 03/16/20 in TXSD         Page 8 of 9




                          divided pro rata among such claimants as may prove their claims, saving
                          to all parties the priority to which they may be entitled; and, that a decree
                          be entered discharging the Cheryl K Petitioners from all other liabilities;
                          and,

        6.         that Petitioners have such other and further relief as they may be entitled at law, in
                   equity or in admiralty, including the right to supplement and amend these
                   pleadings in order to achieve justice.


                                                  Respectfully submitted,

                                                  EASTHAM, WATSON, DALE & FORNEY, L.L.P.


                                                  /s/Robert L. Klawetter
                                                  Robert L. Klawetter
                                                  Federal I.D. 2471
                                                  State Bar No. 11554700
                                                  klawetter@easthamlaw.com
                                                  Christina K. Schovajsa
                                                  Federal I.D. 25142
                                                  State Bar No. 24002910
                                                  schovajsa@easthamlaw.com
                                                  The Niels Esperson Building
                                                  808 Travis Street, Suite 1300
                                                  Houston, TX 77002
                                                  Telephone: (713) 225-0905
                                                  Facsimile: (713) 225-2907

                                                  Attorneys for Petitioners,
                                                  The Tug JB Bloomer, LLC,
                                                  The Tug Cheryl K, LLC,
                                                  Cheryl K, LLC and
                                                  San Jacinto River Fleet, LLC




23,512♦0PMLF3106                                     8
      Case 4:20-cv-00965                       Document 1           Filed on 03/16/20 in TXSD   Page 9 of 9




                                                     VERIFICATION

STATE OF TEXAS                             §
                                           §       KNOW ALL MEN BY THESE PRESENTS:
COUNTY OF HARRIS                           §

       BEFORE ME, the undersigned authority, on this day did personally appear Robert L.
Klawetter, known to me to be the person executing this affidavit and upon having been duly
sworn upon his oath did depose and state as follows:

1.      My name is Robert L. Klawetter. I am over 18 years of age, of sound mind and have
        never been convicted of a felony or crime involving moral turpitude. The facts stated in
        this affidavit are within my personal knowledge and are true and correct.

2.      I am counsel of record for The Tug JB Bloomer, LLC, The Tug Cheryl K, LLC, Cheryl K,
        LLC and San Jacinto River Fleet, LLC in the action to be filed in the Southern District of
        Texas, Houston Division, styled In the Matter of the Complaint of The Tug JB Bloomer,
        LLC, Cheryl K, LLC and San Jacinto River Fleet, LLC, as owner and owners pro hac
        vice of the Tug JB Bloomer and The Tug Cheryl K, LLC, San Jacinto River Fleet, LLC
        and Cheryl K, LLC as owner and owners pro hac vice of the Tug Cheryl K, for
        Exoneration from or Limitation of Liability.

3.      I have read the Complaint for Exoneration from or Limitation of Liability with which this
        Verification is filed, and certify that the facts contained therein are true and correct based
        upon my personal knowledge and/or best information and belief. The sources of my
        information and the grounds for my belief as to all matters stated herein are documents of
        and communications with said corporations and/or their employees.

         Further Affiant sayeth not.




         GIVEN UNDER my hand and official seal of office this \ lQ                    day of March 2020.


                     ~~~x~:::~          MELANIE LYNN FLO"ES
                    ~l.A:;..'<{.'i. Notlry Public. State of T.xlS      Notary Publi 'n   or The State of Texas
                    ~~~J..~$ Comm. Expires 10.17-2020                  My Commission Expires: \-o(l'1 /?f)20
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                     "'",m,\\\''''      Notary 10 130864084




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